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 5   Attorney for Defendant, ANTONIO BAROCIO-VALENCIA
 6

 7

 8                      IN THE UNITED STATES DISTRICT COURT FOR THE

 9                               EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,                          CASE NO: 1:13-CR-00312-AWI-BAM
11                  Plaintiff,

12   v.                                                 STIPULATION AND ORDER TO
                                                        CONTINUE SENTENCING HEARING
13
                                                        Date:      Monday, June 8, 2015
14   ANTONIO BAROCIO-VALENCIA,                          Time:      10:00 a.m.
                                                        Courtroom: Honorable Anthony W. Ishii
15                  Defendant.
16

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18          IT IS HEREBY STIPULATED by and between plaintiff, the United States of America,

19   and the defendant ANTONIO BAROCIO-VALENCIA by and through his attorney that the date

20   set for the Sentencing hearing on Monday, June 8, 2015 at 10:00 a.m. be continued to Monday,

     July 6, 2015 at 10:00 a.m. The justification for this request is as follows:
21
                 The parties are in discussions concerning complex sentencing issues raised by the
22
     defendant’s formal objections and sentencing recommendation. Both parties desire further time
23
      to resolve these issues and for the government to respond to the defendants formal objections.
24
            The parties therefore request that the Sentencing hearing currently set on Monday, June
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     8, 2015 be continued to Monday, July 6, 2015.
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     ///
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     ///
28
                                                           Respectfully submitted,

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 2   DATED: June 4, 2015                                 /s/ Salvatore Sciandra
                                                        SALVATORE SCIANDRA
 3                                                      Attorney for Defendant,
                                                        ANTONIO BAROCIO-VALENCIA
 4

 5

 6   DATED: June 4, 2015                                 /s/ Laurel J. Montoya
                                                        LAUREL J. MONTOYA
 7                                                      Assistant United States Attorney
 8                                                      Agreed to via telephone on 6/4/2015.
 9

10

11                                             ORDER

12          The Sentencing hearing as to Antoio Barocio-Valencia previously set for June 8, 2015, is

13   continued to Monday, July 6, 2015, at 10:00 a.m. in Courtroom 2 before Senior District Judge

14   Anthony W Ishii.

15
     IT IS SO ORDERED.
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     Dated: June 4, 2015
17                                             SENIOR DISTRICT JUDGE
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